CASE 0:24-cv-00001-ECT-TNL                Doc. 115-23       Filed 12/10/24       Page 1 of 9




                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA

 Cheryl Sagataw, DeAnthony Barnes,                            Case No. 24-cv-0001 (ECT/TNL)
 Roberta Strong, Travis Neloms, on behalf
 of themselves and all others similarly
                                                    NOTICE OF DEPOSITION OF CITY OF MINNEAPOLIS
 situated,
                                  Plaintiffs,
        vs.

 Jacob Frey,
                                  Defendant.

       Please take notice that Plaintiffs Cheryl Sagataw, DeAnthony Barnes, Roberta

Strong, and Travis Neloms, on behalf of themselves and the putative class of those

similarly situated, (“Plaintiffs”) will take the deposition of the City of Minneapolis on

December 10, 2024, beginning at 9 a.m. until adjournment thereafter. The deposition will

be taken via remote videoconferencing technology, as agreed by the parties. The

deposition will be taken before a certified court reporter authorized to administer oaths,

and the parties agree that the court reporter may swear in the deponent remotely.

Plaintiffs’ counsel’s office will circulate access instructions and/or dial-in instructions in

advance of the deposition.

       If remote videoconferencing technology becomes unavailable for more than thirty

consecutive minutes during the deposition, then, at the option of Plaintiff’s counsel,

Plaintiff may either proceed telephonically (or by remote videoconference with Plaintiff’s

counsel’s video turned off) or may adjourn the deposition and reconvene the deposition

to continue in-person or by remote videoconference on a mutually convenient date.

       Plaintiff intends to record the testimony by videoconference technology, in




                                                                                       Exhibit W
     CASE 0:24-cv-00001-ECT-TNL           Doc. 115-23       Filed 12/10/24      Page 2 of 9




 addition to recording the testimony by stenographic methods.

          Pursuant to Federal Rule of Civil Procedure 30(b)(6), the City of Minneapolis

 must designate one or more officers, directors, or managing agents, or other persons

 who consent to testify on its behalf, and this or these designee(s) should be prepared to

 testify regarding the following topic areas of inquiry, as specifically enumerated and

 detailed below:

I.     CITY POLICIES AND PROCEDURES RELATED TO UNHOUSED CONSTITUENTS

       1. Planning, discussion, and decision-making of houselessness-related policies. This

 includes, for example: the planning, discussion, and decision-making that has informed

 the City of Minneapolis’s policies, procedures, and decisions regarding the Homeless

 Response Team, the “encampment closure process,” and other storage and encampment

 policies; any and all revisions, or proposals for revisions, to these policies since August

 2023; and formal as well as informal or de facto revisions or deviations in how these

 policies have been implemented.

       2. Storage offerings to unhoused Minneapolis residents in policy and practice. This

 includes how storage is offered to unhoused people, the process for accessing storage,

 the length of time storage may be utilized, the parameters for what can be stored, the

 supports (if any) available for helping people transport belongings to storage, and how

 and by whom the planning and implementation decisions of storage policies are made.

       3. The roles and responsibilities of the Department of Regulatory Services, in

 general and in relation to the provision of storage and administration of other services

 for unhoused people in Minneapolis.



                                               2




                                                                                      Exhibit W
CASE 0:24-cv-00001-ECT-TNL               Doc. 115-23       Filed 12/10/24      Page 3 of 9




   4. The City’s relationship with its “outreach partners,” listed in Defendant’s answer

as: Agate, Avivo, Hennepin County’s Streets to Housing, and Healthcare for the

Homeless. This includes: how these organizations were/are identified and selected; how

the City communicates, supervises, directs, or manages the activities that these outreach

partners take on the City’s behalf; and whether other organizations, such as the Catholic

Charities Opportunity Center, are considered outreach partners and why or why not.

   5. The City’s policies, procedures, and roles regarding shelter bed availability. This

includes: how the City supervises, supports, manages, and tracks the provision and

availability of shelter beds, if at all; whether and to what extent the City ensures

accommodations for people with disabilities; whether and to what extent the City

verifies the availability and accessibility of beds; whether and how decisions are made to

make additional beds available; how additional beds are made available; and which and

how many organizations participate in providing overnight beds to unhoused

Minneapolis residents.

   6. Policies and procedures regarding making and maintaining contact with unhoused

clients. This includes what policies or procedures are used or have been adopted by the

City and/or its outreach partners to inform how service providers identify, support, and

stay in contact with prospective unhoused clients, including those individuals without

permanent addresses or telephone numbers and/or who have disabilities.

   7. Discussions or communications between the City and real estate developers or

civilian crime reporting/monitoring organizations such as “Crime Watch,” “21 Days of

Peace,” and “We Push for Peace,” regarding unhoused persons and/or encampments.



                                              3




                                                                                       Exhibit W
      CASE 0:24-cv-00001-ECT-TNL                    Doc. 115-23          Filed 12/10/24           Page 4 of 9




  Information sought includes the parties to such communications and the fora over which

  these communications take place.

        8. The contract between the City and Helix. This includes the processes, reasoning,

  and discussions or communications that informed, led to, and/or resulted in the contract,

  any requests for proposals, and any oversight mechanisms and metrics to assess Helix’s

  fulfillment of the contract terms.

        9. “No Trespassing” signage, fencing, and depositing of concrete and rubble. This

  includes which properties have had such items erected and when, how the City decides

  which properties should be posted and/or fenced and/or filled with concrete and rubble,

  and who makes such decisions and erects such items on behalf of the City.

        10. Who manages the following City website:

  https://www.minneapolismn.gov/government/government-data/datasource/vacant-conde

  mned-property-dashboard/.

II.     NENOOKAASI EVICTIONS

        11. The decisions made to evict Nenookaasi. This includes the processes, factors,

  and discussions or communications that have informed the decision of whether or not to

  evict Nenookaasi and when, the manner in which such processes, factors, and

  discussions or communications are documented or recorded, and who has final

  decision-making authority.

        12. The City agencies and agents who have been present at each of the prior

  Nenookaasi evictions1 and their roles. This includes the instructions or “briefs” given to


  1
   These evictions include each eviction referenced in the Second Amended Complaint and supporting
  documentation, as well as the July 25, 2024 eviction of the encampment on the 2800 block of 14th Ave S.

                                                          4




                                                                                                            Exhibit W
CASE 0:24-cv-00001-ECT-TNL               Doc. 115-23       Filed 12/10/24      Page 5 of 9




each of these agencies and agents before and during evictions, whether and how

agencies or agents are given such instructions or “briefed,” and what if any feedback,

debriefing, or review occurs after each eviction.

   13. Claims of inadequacies during evictions and subsequent investigations. This

includes whether and to what extent the City has received or is aware of claims,

complaints, or allegations that storage is functionally unavailable to residents, shelter

beds are unavailable, and residents are not given adequate notice or an opportunity to

salvage their belongings during evictions. This includes what steps if any the City has

taken to investigate and/or address such claims, complaints, or allegations.

   14. Measures taken to protect the rights of people with disabilities during evictions, if

any.

   15. Decisions about how much time residents are permitted to pack up their

belongings during evictions, including who makes such decisions, what factors go into

such decisions, what discussions or communications have informed such decisions,

whether the City has received or is aware of complaints that residents have not received

sufficient time, and what steps have been taken to address such complaints if any.

   16. Communication from the City to residents prior to and during evictions. This

includes specific details regarding how, if at all, the City insures residents are made

aware of alternate housing options, transportation, and other resources; who shares such

information with residents, to whom they have specifically shared such information, and

when; and how if at all such information-sharing is documented.




                                              5




                                                                                     Exhibit W
       CASE 0:24-cv-00001-ECT-TNL             Doc. 115-23        Filed 12/10/24      Page 6 of 9




         17. The destruction and/or disposal of shelters, personal effects, and other items

   during evictions, including any inventories or documentation of such items, how such

   items are destroyed or otherwise disposed of, and by whom.

         18. Who makes the decisions regarding how many law enforcement to dispatch to

   each eviction and how these law enforcement are prepared, instructed, equipped, and

   deployed; and by what process and with what input are those decisions made.

         19. Official complaints filed against the City or its agents or agencies related to the

   evictions, including the number, sources, and subject matter of such complaints, and any

   responses or efforts to address such complaints by the City.

         20. Statements made by the City to the public and/or any third party or parties

   regarding or relating to the Nenookaasi evictions. This includes any statements

   regarding the notice given to residents, the justifications for evictions, and how

   encampments generally or Nenookaasi specifically has been or would be handled.

         21. The ceasing of notices for evictions, including what justifications or decisions led

   to the City not providing notice for evictions, who was a part of discussions or

   communications that informed such justifications or decisions, and who had final

   decision-making authority.

         22. The “pastor” the City hired to provide notice to Nenookaasi residents, including

   who this person is, why and how they were “authorized” by the City to provide

   eviction-related notice to residents and by whom, and what training and/or instructions

   they received.

III.     EFFORTS BY THE CITY TO ADDRESS THE NEEDS OF NENOOKAASI RESIDENTS
         AND THEIR HOUSED NEIGHBORS


                                                    6




                                                                                           Exhibit W
CASE 0:24-cv-00001-ECT-TNL               Doc. 115-23       Filed 12/10/24      Page 7 of 9




   23. The process by which the City assesses and documents the size and nature of

Nenookaasi, including whether, when, and how the City has attempted to track the

population of Nenookaasi residents, the number of yurts and/or tents, and the number of

fires and/or heaters, and how such information is maintained and verified.

   24. The process by which complaints to the City or requests for emergency services

regarding or relating to Nenookaasi are documented, retained, and verified. This request

includes whether such a process includes mechanisms for tracking repeat (as opposed to

new or distinct) complaints or complainants, tracking which calls or complaints come

from residents themselves, and tracking which complaints and complainant identity have

been verified, as well as where this information is stored, and by whom.

   25. Whether data exists, how it was compiled, and where and by whom it is stored

regarding complaints to the City related to or regarding unhoused people or

encampments in the East Phillips neighborhood prior to September of 2023, including

the existence of baseline or comparative data illustrating rates of 311 calls, 911 calls, and

other complaints or requests for emergency services, and including data related to drug

overdoses, discarded hypodermic needles, human trafficking, gun discharges, air

pollution, thefts and other crimes, and waste or refuse.

   26. City ordinances and regulations alleged to have been violated by the Nenookaasi

encampment and its residents and the typical or usual City responses to violations of

such ordinances.

   27. The City’s current, planned, proposed, and anticipated future uses of each of the

prior locations of Nenookaasi from which residents have been evicted, including what

related discussions or communications have or are taking place, who (including
                                              7




                                                                                     Exhibit W
      CASE 0:24-cv-00001-ECT-TNL            Doc. 115-23      Filed 12/10/24      Page 8 of 9




  individuals, agencies, and third parties) has participated or is participating in such

  discussions or communications, how such decisions are made and who has final

  decision-making authority.

        28. Intentionally planned meetings with Nenookaasi organizers, liaisons, residents,

  and supporters, including when such meetings have occurred, who has participated in

  such meetings, what was discussed and how such meetings were documented or

  recorded, and what discussions or communications did City officials and agents have

  related to such meetings (including before and after). This request does not include

  impromptu conversations between any City agent or employee and a third party about

  Nenookaasi.

        29. Information regarding the outbreak of Norovirus at Nenookaasi, including what

  information the City received or generated, and any information regarding any identified

  cause, reports of sickness, proposed and/or adopted safety and treatment measures, and

  communications with or orders to law enforcement or emergency responders about

  whether and how to respond during the outbreak.

IV.     THE FIRE

        30. The names, positions, and contact information of all staff, agencies, or agents who

  visited Nenookaasi on behalf of the City during the week prior to February 28, 2024,

  including but not limited to individuals who were sent to Nenookaasi to discuss the fires

  and/or smoke, as well as how these individuals were briefed or instructed and any

  debrief or report-back to the City.

        31. Investigations regarding the fire at Nenookaasi on February 28, 2024, including

  what investigations have taken place, what investigations are ongoing, how
                                                 8




                                                                                       Exhibit W
CASE 0:24-cv-00001-ECT-TNL               Doc. 115-23       Filed 12/10/24    Page 9 of 9




investigations have been documented, who has conducted or is conducting such

investigations, and any findings or reports.

   32. Investigations regarding the arson or attempted arson which took place at

Nenookaasi during the week prior to February 28, 2024, including what investigations

have taken place, what investigations are ongoing, how investigations have been

documented, who has conducted or is conducting such investigations, and any findings

or reports.

   33. The City’s fire and arson investigation procedures, including the standard

operating procedures for fire and arson investigations.

   34. The role of the Minneapolis Fire Department and Minneapolis Police Department,

including the Arson Investigation Unit, in investigating fires and suspected arsons

generally, and in the case of the Nenookaasi fire in particular.




Dated: December 3, 2024                            s/Kira Kelley
                                                   Kira Kelley (#402932)
                                                   Climate Defense Project
                                                   P.O. Box 7040
                                                   Minneapolis, MN 55407
                                                   Phone: (802) 683-4086
                                                   Email: kira@climatedefenseproject.org

                                                   ATTORNEY FOR PLAINTIFFS




                                               9




                                                                                    Exhibit W
